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                                                                                    1:20 MJ 9111
       ,/-RKQ0DWWKHZVD/DZ(QIRUFHPHQW2IILFHUZLWKWKH)HGHUDO%XUHDXRI

,QYHVWLJDWLRQEHLQJILUVWGXO\VZRUQKHUHE\GHSRVHDQGVWDWHDVIROORZV

                      ,1752'8&7,21$1'$*(17%$&.*5281'

             ,DPD6SHFLDO$JHQWZLWKWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQ )%, DQG,KDYH

EHHQVRHPSOR\HGVLQFH,Q$SULO,UHSRUWHGWRWKH6DQ'LHJR)LHOG2IILFHZKHUH,

FRQGXFWHGFRXQWHULQWHOOLJHQFHDQGFRXQWHUWHUURULVPLQYHVWLJDWLRQV8SRQUHSRUWLQJWRWKH)%, V

&OHYHODQG)LHOG2IILFHLQ-DQXDU\,ZDVDVVLJQHG DQGFRQWLQXHWREHDVVLJQHG WRWKH

RIILFH V&RXQWHULQWHOOLJHQFH6TXDGZKHUH,KDYHEHHQUHVSRQVLEOHIRUFRXQWHULQWHOOLJHQFH

LQYHVWLJDWLRQVLQFOXGLQJHFRQRPLFHVSLRQDJHYLRODWLRQVRILQWHOOHFWXDOSURSHUW\ULJKWVFRXQWHU

SUROLIHUDWLRQDQGRWKHUQDWLRQDOVHFXULW\PDWWHUV,QDGGLWLRQWRP\ZRUNH[SHULHQFH,UHFHLYHG

VSHFLDOL]HGWUDLQLQJLQWKHILHOGRIFRXQWHULQWHOOLJHQFHLQYHVWLJDWLRQVIURPWKH)%,DQGRWKHUV

             7KHLQIRUPDWLRQFRQWDLQHGLQWKLVDIILGDYLWLVEDVHGRQLQIRUPDWLRQSHUVRQDOO\

NQRZQWRPHIURPP\ZRUNRQWKHLQYHVWLJDWLRQGHVFULEHGKHUHLQDVZHOODVLQIRUPDWLRQ,

UHFHLYHGIURPRWKHUODZHQIRUFHPHQWDJHQWVDVVLVWLQJLQWKLVLQYHVWLJDWLRQ7KLVDIILGDYLWLV

LQWHQGHGWRVKRZPHUHO\WKDWWKHUHLVVXIILFLHQWSUREDEOHFDXVHIRUWKHUHTXHVWHGFRPSODLQWDQG

DUUHVWZDUUDQWDQGGRHVQRWVHWIRUWKDOORIP\NQRZOHGJHDERXWWKLVPDWWHU

             %DVHGRQP\WUDLQLQJDQGH[SHULHQFHDQGWKHIDFWVDVVHWIRUWKLQWKLVDIILGDYLW

WKHUHLVSUREDEOHFDXVHWREHOLHYHWKDW'U4LQJ:DQJDND.HQQHWK:DQJ 'U:DQJ 

FRPPLWWHGYLRODWLRQVRI7LWOH8QLWHG6WDWHV&RGH6HFWLRQ )DOVH&ODLPV DQG7LWOH

8QLWHG6WDWHV&RGH6HFWLRQ :LUH)UDXG UHODWHGWRPRUHWKDQPLOOLRQLQJUDQW

IXQGLQJWKDW'U:DQJDQGKLVUHVHDUFKJURXSDWWKH&OHYHODQG&OLQLF)RXQGDWLRQ &&) 

UHFHLYHGIURPWKH1DWLRQDO,QVWLWXWHVRI+HDOWK 1,+ 



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                                          -85,6',&7,21

             7KLV&RXUWKDVMXULVGLFWLRQWRLVVXHWKHUHTXHVWHGFRPSODLQWDQGDUUHVWZDUUDQW

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DQGUHVHDUFKSURIHVVRUVYLDIHGHUDOJUDQWVIRUPHGLFDOUHVHDUFK2QFH1,+DZDUGVDJUDQWWKH

JUDQWHHHQWHUVWKHSD\PHQWUHTXHVWLQWKH3D\PHQW0DQDJHPHQW6\VWHP 306 IURPWKHLU

ORFDWLRQ7KHSD\PHQWLVSURFHVVHGDW306LQ%HWKHVGD0'306VXEPLWVDQHOHFWURQLF

$XWRPDWHG&OHDULQJ+RXVH $&+ )LOHWRWKH)HGHUDO5HVHUYH%DQN )5% 'DWD&HQWHULQ1HZ

-HUVH\YLDWKH)5%¶V)HGOLQH$GYDQWDJH$&+DSSOLFDWLRQ7KH$&+$SSOLFDWLRQVHQGVSD\PHQW

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DFFRXQWVDVLQVWUXFWHGRQWKHVHWWOHPHQWGDWH

             ,QWKHSUHVHQWFDVH'U:DQJNQRZLQJO\PDGHRUSUHVHQWHGIDOVHFODLPVWRWKH

1,+WRREWDLQPRQH\DQGSURSHUW\E\PHDQVRIIDOVHRUIUDXGXOHQWSUHWHQVHVUHSUHVHQWDWLRQV

DQGSURPLVHVE\IDLOLQJWRGLVFORVHWR1,+WKDWKHKHOGDQDIILOLDWLRQDQGWKHSRVLWLRQRID'HDQ

DW+XD]KRQJ8QLYHUVLW\RI6FLHQFHDQG7HFKQRORJ\ +867 DQGUHFHLYHGPXOWLSOHJUDQWVIURP

1DWLRQDO1DWXUDO6FLHQFH)RXQGDWLRQRI&KLQD &16) WKDWRYHUODSSHGWKHVDPHVFLHQWLILF

UHVHDUFKDVKLV1,+JUDQWIXQGLQJ$VVXFK'U:DQJ¶VIDOVHDQGIUDXGXOHQWSUHWHQVHV

UHSUHVHQWDWLRQVDQGSURPLVHVOHDG1,+WRDSSURYHDQGIXQGPRUHWKDQPLOOLRQLQJUDQWVYLD

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LQWHUVWDWHZLUHWUDQVIHUWKURXJK1,+¶V306WR'U:DQJDQGKLVUHVHDUFKJURXSDW&&)ORFDWHG

LQWKH1RUWKHUQ'LVWULFWRI2KLR

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/HUQHU5HVHDUFK,QVWLWXWHDQGD3URIHVVRURI0ROHFXODU0HGLFLQHDW&DVH:HVWHUQ5HVHUYH

8QLYHUVLW\+LVDUHDVRILQWHUHVWDUH*HQHWLFVDQG&DUGLRYDVFXODUGLVHDVH'U:DQJEHFDPHD

8QLWHG6WDWHVFLWL]HQWKURXJKQDWXUDOL]DWLRQRQ1RYHPEHU

                    ,QWKHSDVWIHZ\HDUVERWKWKH1,+DQG1DWLRQDO6FLHQFH)RXQGDWLRQKDYH

UHFRJQL]HGWKDWUHVHDUFKIXQGHGE\WKH8QLWHG6WDWHVLVRIWHQLOOHJDOO\WDNHQWRWKH3HRSOH V

5HSXEOLFRI&KLQD$VDUHVXOWRIWKLVUHFRJQLWLRQLQYHVWLJDWRUVIURPWKHVHWZRDJHQFLHVKDYH

KHLJKWHQHGWKHLULQWHUHVWLQYHWWLQJWKHUHFLSLHQWVSRVWJUDQWDZDUGLQJ

           7KH&OHYHODQG&OLQLFUHFHLYHGDOHWWHUGDWHG-DQXDU\IURP'U0LFKDHO/DXHU

'HSXW\'LUHFWRUIRU([WUDPXUDO5HVHDUFKDW1,+ ³WKH1,+OHWWHU´ DGYLVLQJ

           ,WKDVFRPHWRRXUDWWHQWLRQWKDWWKHUHDUHLVVXHVRISRWHQWLDOQRQFRPSOLDQFHZLWK1,+
           SROLFLHVUHJDUGLQJGLVFORVXUHRIRXWVLGHUHVHDUFKVXSSRUWDQGUHOHYDQWDIILOLDWLRQVRU
           IRUHLJQFRPSRQHQWVDWWKH&OHYHODQG&OLQLF/HUQHU&ROOHJHRI0HGLFLQH
           
           $V\RXDUHDZDUHWKH1,+*UDQWV3ROLF\6WDWHPHQW6HFWLRQGHILQHV³RWKHUVXSSRUW´
           DVall ILQDQFLDOUHVRXUFHVZKHWKHU)HGHUDORUQRQ)HGHUDOFRPPHUFLDORULQVWLWXWLRQDO
           DYDLODEOHLQGLUHFW VXSSRUWRIDQLQGLYLGXDO¶VUHVHDUFKHQGHDYRUVLQFOXGLQJEXWQRW
           OLPLWHGWRUHVHDUFKJUDQWV FRRSHUDWLYHDJUHHPHQWVFRQWUDFWVDQGRULQVWLWXWLRQDODZDUGV
           7KLVLQFOXGHVUHVHDUFKVXSSRUWIURP IRUHLJQJRYHUQPHQWVRUHQWLWLHV$SSOLFDQWVPXVW
           SURYLGHXSGDWHGRWKHUVXSSRUWLQIRUPDWLRQSULRUWR DZDUGYLDMXVWLQWLPHDQGDUH
           UHTXLUHGWRLGHQWLI\DQ\FKDQJHVLQRWKHUVXSSRUWLQHDFKDQQXDO SURJUHVVUHSRUW,Q
           DGGLWLRQWKH3+6>3XEOLF+HDOWK6HUYLFH@)LQDQFLDO&RQIOLFWRI,QWHUHVW5HJXODWLRQV
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 'U/DXHULVWKHSULQFLSDOVFLHQWLILFOHDGHUDQGDGYLVRUWRWKHGLUHFWRURI1,+RQDOOPDWWHUV
UHODWHGWRVXEVWDQFHTXDOLW\DQGHIIHFWLYHQHVVRI1,+H[WUDPXUDOUHVHDUFKSURJUDPVDQG
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       &)56XESDUW) UHTXLUHLQYHVWLJDWRUVWRGLVFORVHWRWKHLULQVWLWXWLRQDOOVLJQLILFDQW
       ILQDQFLDOLQWHUHVWVLQFOXGLQJWKRVH UHODWHGWRIXQGVUHFHLYHGIURPDIRUHLJQLQVWLWXWLRQRI
       KLJKHUHGXFDWLRQRUWKHJRYHUQPHQWRI DQRWKHUFRXQWU\1,+UHFHQWO\UHPLQGHGWKH
       FRPPXQLW\RIWKLVUHTXLUHPHQWLQ1272'1,+UHOLHVRQLQVWLWXWLRQVDVWKH
       DSSOLFDQWVDQGUHFLSLHQWVRI1,+IXQGLQJWRHQVXUHWKDWLQGLYLGXDO LQYHVWLJDWRUVPDNHDOO
       DSSURSULDWHGLVFORVXUHVUHJDUGLQJRWKHUVXSSRUWDIILOLDWLRQVDQGILQDQFLDO LQWHUHVWVWRWKHLU
       LQVWLWXWLRQZKHWKHURUQRWWKH\DUHHPSOR\HHVRIWKHLQVWLWXWLRQ,QVWLWXWLRQVLQ WXUQPXVW
       HQVXUHWKDWDOODSSOLFDWLRQVDQGUHSRUWVVXEPLWWHGWR1,+DUHFRPSOHWHDQGDFFXUDWH

       :KHQDSSO\LQJIRUDQ1,+JUDQWWKHDSSOLFDQWLVUHTXLUHGWRLQGLFDWHZKHWKHUWKHSURMHFW
       LQFOXGHVD³IRUHLJQFRPSRQHQW´DQGLI\HVWRSURYLGHDIRUHLJQMXVWLILFDWLRQGRFXPHQW
       :KHQLQVWLWXWLRQVZLVKWRDGGDIRUHLJQFRPSRQHQWSRVWDZDUGSULRU1,+DSSURYDOLV
       UHTXLUHGDVRXWOLQHGLQWKH1,+*UDQWV3ROLF\6WDWHPHQW6HFWLRQ$IRUHLJQ
       FRPSRQHQWLVGHILQHGLQWKH1,+*UDQWV3ROLF\6WDWHPHQW6HFWLRQDVSHUIRUPDQFHRI
       DQ\VLJQLILFDQWHOHPHQWRUVHJPHQWRIWKHSURMHFWRXWVLGHWKH8QLWHG6WDWHVHLWKHUE\WKH
       UHFLSLHQWRUE\DUHVHDUFKHUHPSOR\HGE\RUDIILOLDWHGZLWKDIRUHLJQRUJDQL]DWLRQ
       ZKHWKHURUQRWJUDQWIXQGVDUHH[SHQGHG

       1,+KDVEHFRPHDZDUHWKDWDSSOLFDWLRQVVXEPLWWHGWRWKH1,+IRUWKHLQYHVWLJDWRUQDPHG
       EHORZPD\KDYHIDLOHGWRFRPSO\ZLWKWKHDERYHSROLFLHVUHJDUGLQJRWKHUVXSSRUW
       GLVFORVLQJIRUHLJQILQDQFLDOLQWHUHVWVDQGRUREWDLQLQJ1,+SULRUDSSURYDOIRUWKHXVHRI
       IRUHLJQFRPSRQHQWVRQ1,+DZDUGV

             1,+VHQWWKLVOHWWHUWRWKH&OLQLFEDVHGRQLWVDGPLQLVWUDWLYHLQYHVWLJDWLRQRI'U

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0HGLFLQH'U:DQJVHUYHGDV3ULQFLSDO,QYHVWLJDWRURUWKHLQGLYLGXDOUHVSRQVLEOHIRUWKH

SUHSDUDWLRQFRQGXFWDQGDGPLQLVWUDWLRQRIDUHVHDUFKJUDQWRQWZRDFWLYH1,+DZDUGV5

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7KRXVDQG7DOHQWV3URJUDPLQ$VPRUHIXOO\GLVFXVVHGEHORZVHOHFWLRQLQWRWKH7KRXVDQG

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RQH1DWLRQDO1DWXUDO6FLHQFH)RXQGDWLRQRI&KLQD &16) JUDQWLVDVVRFLDWHGZLWK'U:DQJ

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LQYHVWLJDWLRQGHWHUPLQHGWKDW'U:DQJWKURXJKWKHJUDQWDSSOLFDWLRQVVXEPLWWHGE\WKH

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IXQGLQJIURP&16)'U:DQJ¶VSDUWLFLSDWLRQLQWKH7KRXVDQG7DOHQWV3URJUDPDQG

GHVLJQDWLRQVRI'U:DQJDVWKH3ULQFLSDO,QYHVWLJDWRULQDSSOLFDWLRQVDQGSURJUHVVUHSRUWVRI

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          7KH +XD]KRQJ 8QLYHUVLW\ RI 6FLHQFH DQG 7HFKQRORJ\ +867  LV D QDWLRQDO NH\
          XQLYHUVLW\GLUHFWO\XQGHUWKHDGPLQLVWUDWLRQRIWKH0LQLVWU\RI(GXFDWLRQRI35
          &KLQDDQGLVDPRQJWKHILUVW8QLYHUVLWLHVMRLQLQJWKHQDWLRQDO³3URMHFW´DQG
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          IRUPHU +XD]KRQJ 8QLYHUVLW\ RI 6FLHQFH DQG 7HFKQRORJ\ 7RQJML 0HGLFDO
          8QLYHUVLW\DQG:XKDQ8UEDQFRQVWUXFWLRQ,QVWLWXWH

'87<72',6&/26()25(,*1*5$176833257

              'LVFORVXUHRIIRUHLJQJUDQWVXSSRUWWR1,+VKRXOGRFFXUZKHQDUHVHDUFKHU

SUHVHQWVDGHVFULSWLRQRIWKHUHVHDUFKHU¶VIRUHLJQJUDQWVLQUHVSRQVHWRDQLQTXLU\IURPWKH1,+

DERXWWKHH[LVWHQFHRI³2WKHU6XSSRUW´$FFRUGLQJWRWKH1,+GLVFORVXUHRIRWKHUVXSSRUWLV

UHTXLUHGIRUDYDULHW\RIUHDVRQV

            ,QIRUPDWLRQRQRWKHUVXSSRUWDVVLVWVDZDUGLQJDJHQF\VWDIILQWKHLGHQWLILFDWLRQDQG
            UHVROXWLRQRISRWHQWLDORYHUODSRIVXSSRUWOverlap, whether scientific, budgetary, or
            commitment of an individual's effort greater than 100 percent, is not permitted7KH
            JRDOVLQLGHQWLI\LQJDQGHOLPLQDWLQJRYHUODSDUHWRHQVXUHWKDWVXIILFLHQWDQGDSSURSULDWH
            OHYHOVRIHIIRUWDUHFRPPLWWHGWRWKHSURMHFWWKDWWKHUHLVQRGXSOLFDWLRQRIIXQGLQJIRU
            VFLHQWLILFDLPVVSHFLILFEXGJHWDU\LWHPVRUDQLQGLYLGXDO VOHYHORIHIIRUWDQGRQO\IXQGV
            QHFHVVDU\WRWKHFRQGXFWRIWKHDSSURYHGSURMHFWDUHLQFOXGHGLQWKHDZDUG%XGJHWDU\
            RYHUODSRFFXUVZKHQGXSOLFDWHRUHTXLYDOHQWEXGJHWDU\LWHPV HJHTXLSPHQWVDODU\ DUH
            UHTXHVWHGLQDQDSSOLFDWLRQEXWDUHDOUHDG\SURYLGHGIRUE\DQRWKHUVRXUFH
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    7KH3URMHFWDQG3URMHFWVDUHRIWHQUHIHUHQFHGDVEHLQJDSDUWRI&KLQD¶V7KRXVDQG
7DOHQWV3URJUDPWKDWLVGHVFULEHGLQJUHDWHUGHWDLOODWHULQWKHDIILGDYLW

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            :KHQRWKHUVXSSRUWLVSURSHUO\GHFODUHGE\DUHVHDUFKHUERWKWKHUHVHDUFKHU¶V

KRPHLQVWLWXWLRQDQGWKH1,+FDQHYDOXDWHWKHSUHVHQFHRIRYHUODSDQGGHWHUPLQHZKHWKHUWR

DSSURYHDQDSSOLFDWLRQIRUDQ1,+DZDUGRUIURP1,+¶VSHUVSHFWLYHGHWHUPLQHZKHWKHUWRIXQG

DQDSSOLFDWLRQIRUDQDZDUGRUSHUKDSVDGMXVWSUHYLRXVO\DZDUGHGIXQGLQJWRUHIOHFWWKHSUHVHQFH

RIDQRWKHUVRXUFHRIIXQGLQJIRUWKHVDPHUHVHDUFK

        7KH,QVWLWXWH&HQWHUVFLHQWLILFSURJUDPDQGJUDQWVPDQDJHPHQWVWDIIUHYLHZRWKHUVXSSRUW
        LQIRUPDWLRQSULRUWRDZDUG5HVROXWLRQRIRYHUODSRFFXUVDWWKHWLPHRIDZDUGLQ
        FRQMXQFWLRQZLWKDSSOLFDQWLQVWLWXWLRQRIILFLDOVWKHSULQFLSDOLQYHVWLJDWRUDQGDZDUGLQJ
        DJHQF\VWDII1,+VWDIIFRQWLQXHWRPRQLWRUFKDQJHVWRRWKHUVXSSRUWLQIRUPDWLRQ
        WKURXJKRXWWKHSURMHFWDVSDUWRIWKHDQQXDOSURJUHVVUHYLHZV
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        1,+1RWLFH127
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            ,QDGGLWLRQDVVWDWHGE\'U/DXHULQ1,+¶V-DQXDU\FRUUHVSRQGHQFHWR

WKH&&)WKH1,+*UDQWV3ROLF\6WDWHPHQW *36 6HFWLRQGHILQHV³RWKHUVXSSRUW´DVDOO

ILQDQFLDOUHVRXUFHVZKHWKHU)HGHUDORUQRQ)HGHUDOFRPPHUFLDORULQVWLWXWLRQDODYDLODEOHLQ

GLUHFWVXSSRUWRIDQLQGLYLGXDO¶VUHVHDUFKHQGHDYRUVLQFOXGLQJEXWQRWOLPLWHGWRUHVHDUFKJUDQWV

FRRSHUDWLYHDJUHHPHQWVFRQWUDFWVDQGRULQVWLWXWLRQDODZDUGVThis includes research support

from foreign governments or entitiesApplicants must provide updated other support

information prior to award via just-in-time and are required to identify any changes in other

support in each annual progress report HPSKDVLVDGGHG ,QDGGLWLRQWKH3+6>3XEOLF+HDOWK

6HUYLFH@)LQDQFLDO&RQIOLFWRI,QWHUHVW5HJXODWLRQV&)56XESDUW)UHTXLUHG3ULPDU\

,QYHVWLJDWRUVWRGLVFORVHWRWKHLULQVWLWXWLRQDOOVLJQLILFDQWILQDQFLDOLQWHUHVWVincluding those

related to funds received from a foreign institution of higher educationRUWKHJRYHUQPHQWRI

DQRWKHUFRXQWU\ HPSKDVLVDGGHG 



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             %HIRUHD3ULPDU\,QYHVWLJDWRURUDQ\RWKHUPHPEHURIWKHGHVLJQDWHGUHVHDUFK

WHDPRQD1,+IXQGHGJUDQWFDQFRRSHUDWHZLWKRUDFFHSWVXSSRUWIURPDIRUHLJQFRPSRQHQW

1,+PXVWDSSURYHVXFKFRRSHUDWLRQDQGVXSSRUW$IRUHLJQFRPSRQHQWLVGHILQHGLQWKH1,+

*UDQWV3ROLF\6WDWHPHQW *36 6HFWLRQDV³WKHSHUIRUPDQFHRIDQ\VLJQLILFDQWVFLHQWLILF

HOHPHQWRUVHJPHQWRIDSURMHFWRXWVLGHRIWKH8QLWHG6WDWHVHLWKHUE\WKHUHFLSLHQWRUE\D

UHVHDUFKHUHPSOR\HGE\DIRUHLJQRUJDQL]DWLRQZKHWKHURUQRWJUDQWIXQGVDUHH[SHQGHG

$FWLYLWLHVWKDWZRXOGPHHWWKLVGHILQLWLRQLQFOXGHEXWDUHQRWOLPLWHGWR  WKHLQYROYHPHQWRI

KXPDQVXEMHFWVRUDQLPDOV  H[WHQVLYHIRUHLJQWUDYHOE\UHFLSLHQWSURMHFWVWDIIIRUWKHSXUSRVH

RIGDWDFROOHFWLRQVXUYH\LQJVDPSOLQJDQGVLPLODUDFWLYLWLHVRU  DQ\DFWLYLW\RIWKHUHFLSLHQW

WKDWPD\KDYHDQLPSDFWRQ86IRUHLJQSROLF\WKURXJKLQYROYHPHQWLQWKHDIIDLUVRU

HQYLURQPHQWRIDIRUHLJQFRXQWU\´

             ,QLWLDOJUDQWDSSOLFDWLRQVLQFOXGHDTXHVWLRQRQIRUP*±5 52WKHU3URMHFW

,QIRUPDWLRQZKLFKDVNV³'RHVWKLVSURMHFWLQYROYHDFWLYLWLHVRXWVLGHRIWKH8QLWHG6WDWHVRU

SDUWQHUVKLSVZLWKLQWHUQDWLRQDOFROODERUDWRUV"´,I\HVWKHQWKHDSSOLFDQWPXVWLQFOXGHD)RUHLJQ

-XVWLILFDWLRQDWWDFKPHQW1,+UHYLHZHUVFDQFRPPHQWRQZKHWKHUWKHIRUHLJQVLWH FRPSRQHQW 

LVMXVWLILHG7KH1,+3URJUDP2IILFLDO 32 RU*UDQWV0DQDJHPHQW6WDII *06 PXVWUHFRUGWKH

IRUHLJQFRPSRQHQWLQWKH1,+)RUHLJQ$ZDUGDQG&RPSRQHQW7UDFNLQJ6\VWHP )$&76 DQG

LQVRPHFDVHVJHW6WDWH'HSDUWPHQWDSSURYDO$GGLQJDQHZIRUHLJQFRPSRQHQWWRDQDFWLYH

JUDQWUHTXLUHVSULRUDSSURYDOIURPWKH1,+

             ,Q-XO\1,+UHLWHUDWHGWKLVORQJVWDQGLQJSROLF\LQSODFHVLQFHDWOHDVW

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RQ3ROLFLHVUHODWHGWR)LQDQFLDO&RQIOLFWVRI,QWHUHVWDQG)RUHLJQ&RPSRQHQWV´,QWKDWQRWLFH

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       7KH1,+*36>1DWLRQDO,QVWLWXWHVRI+HDOWK*UDQWV3ROLF\6WDWHPHQW@VWDWHVWKDW
       RWKHUVXSSRUWLQFOXGHVDOOILQDQFLDOUHVRXUFHVZKHWKHU)HGHUDOQRQ)HGHUDOFRPPHUFLDO
       RULQVWLWXWLRQDODYDLODEOHLQGLUHFWVXSSRUWRIDQLQGLYLGXDO VUHVHDUFKHQGHDYRUV
       LQFOXGLQJEXWQRWOLPLWHGWRUHVHDUFKJUDQWVFRRSHUDWLYHDJUHHPHQWVFRQWUDFWVDQGRU
       LQVWLWXWLRQDODZDUGVWRHQVXUHQRVFLHQWLILFEXGJHWDU\RUFRPPLWPHQWRYHUODS
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       ,Q1272'WKH1,+DOVRGHVFULEHGWKHLPSRUWDQFHRIDFFXUDWHO\OLVWLQJ³2WKHU

6XSSRUW´SURYLGHGE\IRUHLJQHQWLWLHV

       1,+UHPLQGVDSSOLFDQWVDQGUHFLSLHQWVWKDWRWKHUVXSSRUWLQFOXGHVDOOUHVRXUFHVPDGH
       DYDLODEOHWRDUHVHDUFKHULQVXSSRUWRIDQGRUUHODWHGWRDOORIWKHLUUHVHDUFKHQGHDYRUV
       UHJDUGOHVVRIZKHWKHURUQRWWKH\KDYHPRQHWDU\YDOXHDQGUHJDUGOHVVRIZKHWKHUWKH\DUH
       EDVHGDWWKHLQVWLWXWLRQWKHUHVHDUFKHULGHQWLILHVIRUWKHFXUUHQWJUDQW7KLVLQFOXGHV
       UHVRXUFHDQGRUILQDQFLDOVXSSRUWIURPDOOIRUHLJQDQGGRPHVWLFHQWLWLHVLQFOXGLQJEXWQRW
       OLPLWHGWRILQDQFLDOVXSSRUWIRUODERUDWRU\SHUVRQQHODQGSURYLVLRQRIKLJKYDOXH
       PDWHULDOVWKDWDUHQRWIUHHO\DYDLODEOH HJELRORJLFVFKHPLFDOPRGHOV\VWHPV
       WHFKQRORJ\HWF 
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        $V'U/DXHUVWDWHGRQEHKDOIRIWKH1,+LQWKH1,+OHWWHU

       :KHQDSSO\LQJIRUDQ1,+JUDQWWKHDSSOLFDQWLVUHTXLUHGWRLQGLFDWHZKHWKHUWKHSURMHFW
       LQFOXGHVD³IRUHLJQFRPSRQHQW´DQGLI\HVWRSURYLGHDIRUHLJQMXVWLILFDWLRQGRFXPHQW
       :KHQLQVWLWXWLRQVZLVKWRDGGDIRUHLJQFRPSRQHQWSRVWDZDUGSULRU1,+DSSURYDOLV
       UHTXLUHGDVRXWOLQHGLQWKH1,+*UDQWV3ROLF\6WDWHPHQW6HFWLRQ$IRUHLJQ
       FRPSRQHQWLVGHILQHGLQWKH1,+*UDQWV3ROLF\6WDWHPHQW6HFWLRQDVSHUIRUPDQFHRI
       DQ\VLJQLILFDQWHOHPHQWRUVHJPHQWRIWKHSURMHFWRXWVLGHWKH8QLWHG6WDWHVHLWKHUE\WKH
       UHFLSLHQWRUE\DUHVHDUFKHUHPSOR\HGE\RUDIILOLDWHGZLWKDIRUHLJQRUJDQL]DWLRQ
       ZKHWKHURUQRWJUDQWIXQGVDUHH[SHQGHG
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        6HFWLRQRIWKH1,+*36VWDWHVWKDWWKHVLJQDWXUHRIDQ$XWKRUL]HG

2UJDQL]DWLRQ5HSUHVHQWDWLYH $25 RQWKHDSSOLFDWLRQFHUWLILHVWKDWWKHRUJDQL]DWLRQZLOOFRPSO\

ZLWKDOODSSOLFDEOHDVVXUDQFHVDQGFHUWLILFDWLRQVUHIHUHQFHGLQWKHDSSOLFDWLRQ7KH1,+

DSSOLFDWLRQLQVWUXFWLRQVVWDWHWKDW³'HOLEHUDWHZLWKKROGLQJIDOVLILFDWLRQRUPLVUHSUHVHQWDWLRQRI

LQIRUPDWLRQFRXOGUHVXOWLQDGPLQLVWUDWLYHDFWLRQVVXFKDVZLWKGUDZDORIDQDSSOLFDWLRQ

VXVSHQVLRQDQGRUWHUPLQDWLRQRIDQDZDUGGHEDUPHQWRILQGLYLGXDOVDVZHOODVSRVVLEOH

FULPLQDODQGRUFLYLOSHQDOWLHV´

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³WRVHFXUHDQGUHWDLQDXQLTXHVLJQDWXUHDQGGDWHGDVVXUDQFHIURPWKH3,IRUHDFKVXEPLWWHG

DSSOLFDWLRQSULRUWRVXEPLWWLQJDQDSSOLFDWLRQWRWKH1,+7KLVDVVXUDQFHPXVWEHDYDLODEOHWR

WKH1,+RURWKHUDXWKRUL]HG'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHVRU)HGHUDORIILFLDOV

XSRQUHTXHVW6XFKDQDVVXUDQFHPXVWLQFOXGHDWOHDVWWKHIROORZLQJFHUWLILFDWLRQV that the

information submitted within the application is true, complete and accurate to the best of the

PI's knowledge WKDWDQ\IDOVHILFWLWLRXVRUIUDXGXOHQWVWDWHPHQWVRUFODLPVPD\VXEMHFWWKH

3,WRFULPLQDOFLYLORUDGPLQLVWUDWLYHSHQDOWLHVDQG WKDWWKH3,DJUHHVWRDFFHSWUHVSRQVLELOLW\

IRUWKHVFLHQWLILFFRQGXFWRIWKHSURMHFWDQGWRSURYLGHWKHUHTXLUHGSURJUHVVUHSRUWVLIDJUDQWLV

DZDUGHGDVDUHVXOWRIWKHDSSOLFDWLRQ´ HPSKDVLVDGGHG 

           :KHQVXEPLWWLQJD-XVW,Q7LPHGRFXPHQWWRWKH1,+DVSDUWRIWKHJUDQW

DSSOLFDWLRQSURFHVVXQGHU6HFWLRQRIWKH1,+*36WKH$SSOLFDQWDQG2UJDQL]DWLRQ

&HUWLILFDWLRQDQG$FFHSWDQFHPHVVDJHGLVSOD\VWKHIROORZLQJDVDSRSXS

       ,FHUWLI\WKDWWKHVWDWHPHQWVKHUHLQDUHWUXHFRPSOHWHDQGDFFXUDWHWRWKHEHVWRIP\
       NQRZOHGJHDQGDFFHSWWKHREOLJDWLRQWRFRPSO\ZLWK3XEOLF+HDOWK6HUYLFHVWHUPVDQG
       FRQGLWLRQVLIDJUDQWLVDZDUGHGDVDUHVXOWRIWKLVDSSOLFDWLRQ,DPDZDUHWKDWDQ\IDOVH
       ILFWLWLRXVRUIUDXGXOHQWVWDWHPHQWVRUFODLPVPD\VXEMHFWPHWRFULPLQDOFLYLORU
       DGPLQLVWUDWLYHSHQDOWLHV
       
        :KHQVXEPLWWLQJDSURJUHVVUHSRUW 5335 WRWKH1,+XQGHU6HFWLRQWKH

6XEPLW5335VFUHHQGLVSOD\VDFHUWLILFDWLRQVWDWHPHQW

       ³,QVXEPLWWLQJWKLV5335WKH62 RU3'3,ZLWKGHOHJDWHGDXWKRULW\ FHUWLILHVWRWKHEHVW
       RIKLVKHUNQRZOHGJHWKDWWKHJUDQWHHRUJDQL]DWLRQLVLQFRPSOLDQFHZLWKWKHWHUPVDQG
       FRQGLWLRQVVSHFLILHGLQWKH1RWLFHRI$ZDUGDQG*UDQWV3ROLF\6WDWHPHQWDQGYHULILHVWKH
       DFFXUDF\DQGYDOLGLW\RIDOODGPLQLVWUDWLYHILVFDODQGVFLHQWLILFLQIRUPDWLRQLQWKH
       SURJUHVVUHSRUW7KH62 RU3'3,ZLWKGHOHJDWHGDXWKRULW\ IXUWKHUFHUWLILHVWKDWWKH
       JUDQWHHRUJDQL]DWLRQZLOOEHDFFRXQWDEOHIRUWKHDSSURSULDWHXVHRIDQ\IXQGVDZDUGHG
       DQGIRUWKHSHUIRUPDQFHRIWKHJUDQWVXSSRUWHGSURMHFWRUDFWLYLWLHVUHVXOWLQJIURPWKH
       SURJUHVVUHSRUW'HOLEHUDWHZLWKKROGLQJIDOVLILFDWLRQRUPLVUHSUHVHQWDWLRQRI
       LQIRUPDWLRQFRXOGUHVXOWLQDGPLQLVWUDWLYHDFWLRQVVXFKDVZLWKGUDZDORIDSURJUHVVUHSRUW

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        VXVSHQVLRQDQGRUWHUPLQDWLRQRIDQDZDUGGHEDUPHQWRILQGLYLGXDOVDVZHOODVSRVVLEOH
        FULPLQDOSHQDOWLHV7KHJUDQWHHLQVWLWXWLRQPD\EHOLDEOHIRUWKHUHLPEXUVHPHQWRIIXQGV
        DVVRFLDWHGZLWKDQ\LQDSSURSULDWHRUIUDXGXOHQWFRQGXFWRIWKHSURMHFWDFWLYLW\´
        
         7KHLQYHVWLJDWLRQGHWHUPLQHGWKDWRQDWOHDVWIRXUGLIIHUHQWRFFDVLRQV'U:DQJ

KDGWKHRSSRUWXQLW\DQGREOLJDWLRQWRGLVFORVHKLV&KLQHVHJUDQWVKLVSRVLWLRQDV'HDQDW+867

DQGWKHVFLHQWLILFEXGJHWDU\DQGFRPPLWPHQWRIHIIRUWRYHUODSEHWZHHQKLV1,+DQG&61)

JUDQWVEXWNQRZLQJO\DQGZLOOIXOO\IDLOHGWRGRVRRQWKHIROORZLQJVXEPLVVLRQVWR1,+

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    %<'5:$1*            1,+*5$17        7<3(2)5(3257                               &61)*5$17
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                                                                                            &16)
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                                                                      6XSSRUW´
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           'U6HUSLO(U]XUXPWKH'LUHFWRUDQG&KDLURIWKH/HUQHU5HVHDUFK,QVWLWXWHDQG

'U6WDQOH\+D]HQ&KDLURIWKH&DUGLRYDVFXODU 0HWDEROLF6FLHQFHV'HSDUWPHQWDQG'U

:DQJ¶VVXSHUYLVRUDGYLVHGWKDW&&)SURYLGHGH[WHQVLYHWUDLQLQJDQGHGXFDWLRQWRDOORILWV

UHVHDUFKHUVUHJDUGLQJWKHLUREOLJDWLRQWRGLVFORVHDOORWKHUVRXUFHVRIIXQGLQJXQGHU1,+¶V*36

6HFWLRQV±ERWKEHIRUH1,+JUDQWVZHUHDSSURYHGDQGIXQGHGDVZHOODVSHULRGLFDOO\GXULQJWKH

OLIHRIWKHJUDQW,QDGGLWLRQWKH\DGYLVHGWKDW&&)UHTXLUHG'U:DQJWRFRPSOHWHDQDQQXDO

&RQIOLFWRI,QWHUHVW &2, LQ&&)¶VV\VWHPWKDWDGYLVHG'U:DQJWKDWKHZDVUHTXLUHGWR

GLVFORVHDQ\DQGDOOILQDQFLDOLQWHUHVWVILGXFLDU\UROHVDQGUHVHDUFKDFWLYLWLHVRXWVLGHRI&&)

7KH\IXUWKHUDGYLVHGWKDWEHIRUH'U:DQJFRXOGFRPSOHWHDQGVXEPLWKLV&2,IRU\HDUV

WKURXJKWKHV\VWHPUHTXLUHGKLPWRDFNQRZOHGJHKLVXQGHUVWDQGLQJRI&&)¶VFRQIOLFWRI

LQWHUHVWSROLFLHVZKLFK'U:DQJGLG)LQDOO\'U+D]HQDGYLVHGKHVSHFLILFDOO\UHLWHUDWHG'U

:DQJ¶VREOLJDWLRQWRGLVFORVHDOORWKHUVRXUFHVRIIXQGLQJLQFOXGLQJIRUHLJQJUDQWVGXULQJKLV

DQQXDOUHYLHZLQWHUYLHZZLWK'U:DQJ

           8SRQUHFHLSWRIWKHDERYH1,+OHWWHUWKH&OHYHODQG&OLQLFLQVWLWXWHGDQLQWHUQDO

LQYHVWLJDWLRQRI'U:DQJ7KH&OLQLF¶VLQYHVWLJDWLRQUHDFKHGWKHVDPHFRQFOXVLRQVDVWKH1,+¶V

LQYHVWLJDWLRQDQGIRXQGWKDW'U:DQJIDLOHGWRGLVFORVHWKHVDPHLQIRUPDWLRQGLVFXVVHGDERYH

LQSDUDJUDSKWRWKH&OLQLFDVZHOO7KH&OLQLFDOVRFRQFOXGHGWKDW'U:DQJYLRODWHGWKH

&OHYHODQG&OLQLF2IILFHRI6SRQVRUHG5HVHDUFKSROLF\ILQDQFLDOSROLF\DQGWKHIHGHUDO1,+

SROLF\IRUODFNRIUHSRUWLQJKLV&KLQHVHIXQGHGZRUNDQGDIILOLDWLRQV

           2Q0DUFKWKH&OHYHODQG&OLQLFLQWHUYLHZHG'U:DQJ'U:DQJ

DGPLWWHGWRDSSO\LQJIRUDQGDFFHSWLQJDSRVLWLRQZLWK&KLQD¶V7KRXVDQG7DOHQW3URJUDP 773 

LQ±HOHYHQ  \HDUVDIWHUEHFRPLQJD&&)HPSOR\HH±DQGWKDWDVDUHVXOWRIKLV

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DGPLVVLRQLQWRWKH773&KLQDSURYLGHGPLOOLRQLQUHVHDUFKVXSSRUWWRHQKDQFHWKHIDFLOLWLHV

DQGRSHUDWLRQVDWWKH.H\/DEDW+867EXLOGLQJRXWWKHFRUHIDFLOLW\DQG'U:DQJEHFDPH

'HDQRIWKH&ROOHJHRI/LIH6FLHQFHVDW+867'U:DQJVDLGKHXVHGWKHIXQGVWREULQJWKH

&ROOHJHRI/LIH6FLHQFHVDW+867LQ&KLQDWRDQHZOHYHO'U:DQJDOVRDGPLWWHGWREHFRPLQJ

WKH'LUHFWRURIWKH.H\/DERUDWRU\RI0ROHFXODU%LRSK\VLFVRIWKH0LQLVWU\RI(GXFDWLRQDW

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IDOVHO\VWDWHGWKDWWKHORGJLQJSURYLGHGE\+867ZDVDGRUPURRPRQFDPSXVEXWWKHQ

DGPLWWHGWKDWKHKDGDWKUHHEHGURRPDSDUWPHQWRQFDPSXVWKDWLVGHYRWHGWRKLVSHUVRQDOXVH

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7KRXVDQG7DOHQWV3URJUDP'U:DQJIXUWKHUH[SODLQHGWKDWKHZRXOGVRPHWLPHVKROG

UHFUXLWLQJHYHQWVLQWKH8QLWHG6WDWHV+HUHFDOOHGKRVWLQJHYHQWVDW+DUYDUG0HGLFDO6FKRROLQ

%RVWRQ8QLYHUVLW\RI&DOLIRUQLDDW6DQ)UDQFLVFRDQG8QLYHUVLW\RI7H[DV6RXWKZHVWHUQ'U

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UHFUXLWHGSHUVRQWKDWFRXOGEHWZRRUWKUHHPLOOLRQ&KLQHVH<XDQ DURXQGWR 

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KLJKO\UHJDUGHGDQGDFFRPSOLVKHG7KRXVDQG7DOHQWPHPEHUV

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FODLPHGWKDWKHGLGQRWUHFUXLWDQ\RQHIURP&OHYHODQG&OLQLFEXWKHDOVRFODLPHGWKDWKHKDVQRW

UHFHLYHGDVDODU\RUDQ\SHUVRQDOFRPSHQVDWLRQIRUKLVHPSOR\PHQWDW+867RUWKH7KRXVDQG

7DOHQWV3URJUDPZKLFK\RXU$IILDQWNQRZVWREHFRQWUDU\WRKRZWKH7KRXVDQG7DOHQWV

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IRUHLJQWHFKQRORJ\DQGLQWHOOHFWXDOSURSHUW\7KHLPSRUWDQFHRIWKH7KRXVDQG7DOHQWSURJUDP

ZDVPHPRULDOL]HGLQZKHQ³WDOHQWGHYHORSPHQW´ZDVDGGHGWRWKH&RQVWLWXWLRQRIWKH

&RPPXQLVW3DUW\RI&KLQD7KH7KRXVDQG7DOHQWSURJUDPUHTXLUHVSDUWLFLSDQWVVLJQFRQWUDFWV

REOLJDWLQJWKHPWRSHUIRUPERWKW\SLFDODFDGHPLFUHVHDUFKRUHQWUHSUHQHXULDODFWLYLWLHVRQ

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SUHVWLJLRXVXQLYHUVLW\DQGKDYHVHYHUDO\HDUVRIRYHUVHDVZRUNRUUHVHDUFKH[SHULHQFHDW

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ODERUDWRU\RUUHVHDUFKRUJDQL]DWLRQWKDWRIWHQPHHWVRUH[FHHGVVDODULHVWKH7DOHQW5HFUXLWVGUDZ

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WKURXJKWKHLUQRQ&KLQHVHHPSOR\PHQW7KH&KLQHVHJRYHUQPHQWKDVEHHQNQRZQWRSURYLGH

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5HFUXLW VOHYHORIH[SHUWLVHDQGTXDOLW\RISHUIRUPDQFHLQPHHWLQJ7DOHQW3ODQJRDOV7KH

&KLQHVHJRYHUQPHQWPD\DOVRVXSSO\IUHHKRXVLQJRUDJHQHURXVKRXVLQJDOORZDQFHKLJKTXDOLW\

VFKRROLQJIRUFKLOGUHQMREVIRUVSRXVHVKHDOWKFDUHDQGVLJQLILFDQWWD[EUHDNV7DOHQW3ODQ

IXQGLQJLVDOPRVWDOZD\VSURYLGHGWD[IUHH

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GXULQJWKHWHUPRIWKHLUFRQWUDFW)DLOXUHWRPHHW7DOHQW3ODQFRQWUDFWJRDOVFDQUHVXOWLQWKHORVV

RIIXQGLQJRUGLVPLVVDO7KLVFRQWUDFWXDOREOLJDWLRQFORVHO\UHVHPEOHVRUHYHQUHSOLFDWHVWKH

ZRUNWKH7DOHQW5HFUXLWSHUIRUPVRUSHUIRUPHGIRUKLVRUKHU86HPSOR\HUWKXVGHPRQVWUDWLQJ

WKH7DOHQW5HFUXLW VZLOOLQJQHVVWROHYHUDJHNQRZOHGJHDQGLQWHOOHFWXDOSURSHUW\REWDLQHGIURP

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EHWZHHQ7DOHQW5HFUXLWV ZRUNLQWKH8QLWHG6WDWHVDQGWKH7DOHQW3ODQUHVHDUFKWKH\DUH

REOLJDWHGWRSHUIRUPLQ&KLQDPDQ\7DOHQW5HFUXLWVHYHQWXDOO\GUDZXSRQWKHLUNQRZOHGJHDQG

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³7R:KRP,W0D\&RQFHUQ&DVH:HVWHUQ5HVHUYH8QLYHUVLW\&OHYHODQG&OLQLF1,+DQG

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$IILDQWNQRZVWKLVDVVHUWLRQWREHIDOVHVLQFH'U:DQJZDVVWLOOD'HDQDW+867DIWHUDQG

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UHJDUGLQJ'U:DQJ¶VSRVLWLRQHPSOR\PHQWVWDWXVDQGIDLOXUHWRGLVFORVH'U:DQJ¶V&KLQHVH

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      $SSOLFDWLRQGDWH8QNQRZQ
      $ZDUG'DWH8QNQRZQ
      5HVHDUFK3ODQ-DQXDU\WKURXJK'HFHPEHU
      6WDWXV'U:DQJPDLQWDLQVWKDWWKLVJUDQWZDVDPRQJWKRVHKH³UHOLQTXLVKHG´WKURXJKDQ
      H[FKDQJHRIFRUUHVSRQGHQFHGDWHG6HSWHPEHU
      (QG'DWH'U:DQJVWDWHVWKHJUDQWZDVVFKHGXOHGWRHQGRQ'HFHPEHU
      %XGJHW$FFRUGLQJWR'U:DQJWKHILYH\HDUEXGJHWZDV
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1,+*UDQW52+/
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      $SSOLFDWLRQGDWH$SSOLFDWLRQUHVXEPLWWHGRQ1RYHPEHU
      -XVWLQ7LPH6XEPLVVLRQ0D\
      $ZDUG'DWH1R12*$EXWILUVW5335VD\VJUDQWSHULRGLV-XO\WKURXJK$SULO
      
      5HVHDUFK3ODQ-XO\WKURXJK$SULO
      (QG'DWH$FFRUGLQJWR'U:DQJWKHJUDQWHQWHUHGDRQH\HDUQRFRVWH[WHQVLRQSHULRG
      RQ0D\WKDWZDVVFKHGXOHGWRHQGRQ$SULO
      %XGJHW$FFRUGLQJWRDSSOLFDWLRQWKHFXPXODWLYHEXGJHWIRUDOOIRXU\HDUVLV
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,    2YHUODS

             8QGHU1,+JUDQWUXOHV³RYHUODS´EHWZHHQRUDPRQJUHVHDUFKJUDQWVLVQRW

SHUPLWWHGDQGPXVWEHDYRLGHGRUPLWLJDWHG2YHUODSPD\EHVFLHQWLILFEXGJHWDU\RULQYROYH

WKHFRPPLWPHQWRIDQLQGLYLGXDO¶VHIIRUWJUHDWHUWKDQ

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                $FFRUGLQJWRDQRWLFHLVVXHGE\WKH1,+LQ 1,+127 DQGRWKHU

VRXUFHV³VFLHQWLILFRYHUODS´LVGHILQHGDVIROORZV

             6FLHQWLILF2YHUODSRFFXUVZKHQ  VXEVWDQWLDOO\WKHVDPHUHVHDUFKLVSURSRVHGLQPRUH
             WKDQRQHDSSOLFDWLRQRULVVXEPLWWHGWRWZRRUPRUHGLIIHUHQWIXQGLQJVRXUFHVIRUUHYLHZ
             DQGIXQGLQJFRQVLGHUDWLRQRU  DVSHFLILFUHVHDUFKREMHFWLYHDQGWKHUHVHDUFKGHVLJQIRU
             DFFRPSOLVKLQJWKDWREMHFWLYHDUHWKHVDPHRUFORVHO\UHODWHGLQWZRRUPRUHDSSOLFDWLRQV
             RUDZDUGVUHJDUGOHVVRIWKHIXQGLQJVRXUFH
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                ,Q-DQXDU\WKH1,+FRQWDFWHG&OHYHODQG&OLQLFE\HPDLODQGDVNHGIRU

LQIRUPDWLRQDERXW'U:DQJ¶VDFWLYLWLHVLQ&KLQDDQGKLV&KLQHVHJUDQWV,QUHVSRQVHWR

TXHVWLRQVIURPWKH1,+'U:DQJPLVOHGWKH&OHYHODQG&OLQLFDQGLQIRUPHGLWLQZULWLQJWKDW

WKHUHZDV³>Q@RRYHUODSSLQJEHWZHHQ1,+52+/DQGDOO&KLQHVHJUDQWV´'U:DQJ

SURYLGHGWKH&OHYHODQG&OLQLFZLWKGRFXPHQWVUHODWLQJWRWKHIRXU&KLQHVHJUDQWVZKLFKWKH

&OHYHODQG&OLQLFSDLGDYHQGRUWRWUDQVODWHLQWR(QJOLVK

                7KH&OHYHODQG&OLQLFDVNHGWKUHHRILWVVFLHQWLVWVWRUHYLHZWKHWUDQVODWLRQRIWKH

&KLQHVHJUDQWVDQGFRPSDUHWKHPWR'U:DQJ¶V1,+JUDQWVLQFOXGLQJ52+/WR

GHWHUPLQHZKHWKHUWKHUHZDVVFLHQWLILFRYHUODS,Q-DQXDU\WKHUHYLHZHUVUHSRUWHGWKDW

WKHUHPD\EHSRWHQWLDOVFLHQWLILFFRQFHSWXDORYHUODSEHWZHHQVHYHUDORIWKH1,+DQG&16)

JUDQWVDQGVRPHDUHDVRI³GLUHFWVFLHQWLILFRYHUODS´7KH&OLQLFUHYLHZHUVDOVRFRQFOXGHGWKDW

QHLWKHU'U:DQJQRUWKH&OLQLFPDGHWKHQHFHVVDU\GLVFORVXUHRIWKLVRYHUODSWRWKH1,+

                ,QLWLDOO\WKH&OLQLFUHYLHZHUVGHWHUPLQHGEDVHGRQ'U:DQJ¶VIDOVHLQIRUPDWLRQ

WKDWWKHUHZDVQRRYHUODSLQWKHIDPLOLHVXVHGEHWZHHQWKH1,+DQG&16)UHVHDUFKWKDWWKHXVH

RIGLIIHUHQWFRKRUWVRIIDPLOLHVIDPLOLHVIURPWKH86LQWKH52DQGIDPLOLHVIURP&KLQDLQ

WKH&KLQHVHJUDQWSURYLGHGDEDVLVWRGLIIHUHQWLDWHWKHZRUNWREHSHUIRUPHGXQGHUWKHWZR

JUDQWVDQGWKHUHZDVQRRYHUODSHYHQWKRXJKWKHWZRJUDQWVVRXJKWWRLGHQWLI\WKHVDPHUDUH

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JHQHWLFYDULDQWVOLQNHGWRFRURQDU\DUWHU\GLVHDVHDQGVKDUHGFRQFHSWXDORYHUODSLQWKHLURYHUDOO

DSSURDFK

            +RZHYHUGXULQJWKH0DUFKLQWHUYLHZ&&)DVNHG'U:DQJWRLGHQWLI\

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SUHYLRXVO\OLHGWR&&)DVKHDGPLWWHGQRZWKDWWKHVXEMHFWVVHTXHQFHGXQGHUWKHWZRJUDQWV

ZHUHQRWHQWLUHO\GLIIHUHQW6SHFLILFDOO\RIWKHIDPLOLHVUHIHUHQFHGLQWKH&KLQHVHJUDQWIRU

ZKRP'U:DQJZRXOGEHFRQGXFWLQJJHQHVHTXHQFLQJDWOHDVWZHUH$PHULFDQIDPLOLHVWKH

VDPHIDPLOLHV'U:DQJZDVXVLQJDVDEDVLVIRUKLVZRUNXQGHUWKH52DZDUGHGE\1,+

7KHVHIDPLOLHVKDGGRQDWHGJHQHWLFPDWHULDORYHUWKH\HDUVXQGHUDPXOWL\HDUSULYDWHO\IXQGHG

FDUGLRYDVFXODUGLVHDVHUHVHDUFKSURJUDPDW&&)FDOOHG*HQHTXHVW

            'U:DQJDOVRDGPLWWHGGXULQJWKLVLQWHUYLHZWKDWLQKHKDQGFDUULHG

VDPSOHVRIELRORJLFDOPDWHULDOIURP&OHYHODQGWR&KLQDDQGGHOLYHUHGWKHPWR:X;L$SS7HF

IRUZKROHJHQRPHVHTXHQFLQJRIWKHELRORJLFDOPDWHULDOFROOHFWHGIURPWKH&&)¶V*HQHTXHVW

IDPLOLHV'U:DQJDGYLVHG&&)WKDWKHSDLG:X;LLQHLJKWSD\PHQWVEHWZHHQ

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1,+52,QDGGLWLRQ'U:DQJFKDQJHGKLVLQLWLDOVWRU\WR&&)ZKHQDVNHGDERXWWKHORFDWLRQ

RIWKHELRORJLFDOPDWHULDOV,QLWLDOO\'U:DQJWROG&&)WKDWWKHPDWHULDOVKDGEHHQFRPSOHWHO\

XVHGXSGXULQJWHVWLQJDW&&)EXWGXULQJWKLVLQWHUYLHZKHDGPLWWHGWKDWWKHUHPDLQLQJ

ELRORJLFDOPDWHULDOIURPWKH86GRQRUIDPLOLHVZDVVHQWE\:X;L$SS7HFWR+867LQ:XKDQ

&KLQDDQGWKLVELRORJLFDOPDWHULDOUHPDLQVVWRUHGLQ:XKDQ




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             7KHUHYLHZHUVDOVRFRQFOXGHGDIWHUWKHLUDQDO\VLVRIRQHRIWKH1,+JUDQWVZLWK

WKHFRUUHVSRQGLQJ&61)JUDQWWKDW³LWDSSHDUVWKDWWKHUHZDVDGHJUHHRIVFLHQWLILFRYHUODS

EHWZHHQWKHVHWZRJUDQWV´EDVHGRQWKHIDFWWKDWWKHIDPLOLHVXVHGLQERWKVWXGLHVZHUHPRVWO\

WKHVDPH

             'U/DXHUDGYLVHGWKDWWKH1,+FRQFOXGHGWKDWWKHXVHRIWKHVDPHIDPLO\

PHPEHUVLQERWKWKH1,+JUDQWUHVHDUFKDQGWKH&61)JUDQWUHVHDUFKFRQVWLWXWHGGLUHFWVFLHQWLILF

RYHUODS

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             2YHUODSFDQRQO\EHLGHQWLILHGE\DUHVHDUFKHU¶VKRPHLQVWLWXWLRQRUE\WKH1,+

ZKHQDOORIWKHJUDQWVIURPZKLFKRYHUODSPD\DULVHDUHGLVFORVHG'U:DQJGLGQRWGLVFORVH

WKHH[LVWHQFHRIKLV&KLQHVHJUDQWVWRWKH&&) RUWRWKH1,+ XQWLO-DQXDU\DIWHUWKH

1,+VHQWLWVFRUUHVSRQGHQFHWR&&)RQ-DQXDU\DQGRQO\DIWHU&&)DVNHG'U:DQJ

GLUHFWO\DERXWWKHJUDQWVEDVHGRQ1,+¶VLQTXLU\,QDGGLWLRQLQKLV-DQXDU\HPDLO'U

:DQJDWWHPSWHGWRPLQLPL]HDQ\VFLHQWLILFRYHUODSEHWZHHQWKH1,+DQG&61)JUDQWVDQG

VSHFLILFDOO\UHIHUHQFHGRQO\&61)JUDQWQXPEHUDQGVWDWHGLW³>+@DGQRRYHUODSSLQJ

ZLWKDQ\FXUUHQWRUSDVW1,+JUDQWV´+RZHYHURQFH&&)ZDVDEOHWRREWDLQDWUDQVODWLRQRIDOO

RIWKH&61)¶VJUDQWVDVGLVFXVVHGLQWKHSUHYLRXVSDUDJUDSKVWKH&&)UHYLHZVDQGWKH1,+

FRQFOXGHGWKDWWKHUHVHDUFKLQ&61)JUDQWQXPEHU±DJUDQWQRWGLVFORVHGE\'U

:DQJLQKLVHPDLO±FRQVWLWXWHGGLUHFWVFLHQWLILFRYHUODSZLWK1,+JUDQWQXPEHU52

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             2Q)HEUXDU\&&)LQWHUYLHZHG'U:DQJUHJDUGLQJ1,+¶VLQTXLU\DQG

WKHRYHUODSLVVXHUDLVHGE\WKH1,+¶VLQTXLU\DQGDJDLQ'U:DQJIDLOHGWRGLVFORVH&61)JUDQW

QXPEHUDQGLQVWHDGOLHGDQGDGYLVHG&&)WKDWQRQHRIWKHZRUNKHSUHYLRXVO\

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SHUIRUPHGXQGHUKLVIRUHLJQJUDQWVPDWHULDOO\RYHUODSSHGWKHZRUNKHSHUIRUPHGXQGHUKLV1,+

52V

,9 $EVHQFHRI'LVFORVXUHRI&KLQHVH*UDQWDV³2WKHU6XSSRUW´LQ6XEPLVVLRQV
    5HODWLQJWR52+/
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2SSRUWXQLWLHVIRU'LVFORVXUHRIWKH&KLQHVH*UDQWDV³2WKHU6XSSRUW´

            Grant Application'U:DQJVXEPLWWHGKLVDSSOLFDWLRQIRU52+/RQ

1RYHPEHU7KHDSSOLFDWLRQFDOOVIRUWKHGLVFORVXUHRIDQ\³2QJRLQJ5HVHDUFK6XSSRUW´

%HFDXVHWKH&KLQHVHJUDQWDSSHDUVQRWWRKDYHEHJXQXQWLO-DQXDU\LWPD\QRWKDYHEHHQ

³RQJRLQJ´LQ1RYHPEHU,ILWZDVQRWRQJRLQJ'U:DQJZRXOGQRWKDYHEHHQREOLJDWHGWR

GLVFORVHLWDWWKLVSRLQWLQWKHDSSOLFDWLRQSURFHVV+RZHYHUSXUVXDQWWRWKH1,+¶VDSSOLFDWLRQ

JXLGHOLQHVWKHUHTXLUHPHQWRIGLVFORVXUHZDVDQRQJRLQJREOLJDWLRQDQGQHHGHGWREHGLVFORVHG

LQ-DQXDU\

            Just-in-Time1,+JDWKHUVDGGLWLRQDOLQIRUPDWLRQDVDJUDQWDSSOLFDWLRQPRYHV

WKURXJKWKHHYDOXDWLRQSURFHVV-XVWSULRUWRWKH1,+PDNLQJDQDZDUGGHFLVLRQWKHDJHQF\

VHHNVFXUUHQWLQIRUPDWLRQIURPDQDSSOLFDQWWKURXJKDSURFHVVFDOOHG³-XVWLQ7LPH´$WWKLV

VWDJHDQDSSOLFDQWLVUHTXLUHGWRGLVFORVHDOORIKLVRUKHUDFWLYHDQGSHQGLQJUHVHDUFKVXSSRUW

7KH1,+*UDQWV3ROLF\6WDWHPHQWVWDWHV³,QIRUPDWLRQRQRWKHUDFWLYHDQGSHQGLQJVXSSRUWZLOO

EHUHTXHVWHGDVSDUWRIWKH-XVWLQ7LPHSURFHGXUHV«2WKHUVXSSRUWLVUHTXHVWHGIRUDOO

LQGLYLGXDOVGHVLJQDWHGLQDQDSSOLFDWLRQDVVHQLRUNH\SHUVRQQHO«´:KHQDFWLYHRUSHQGLQJ

VXSSRUWLVGLVFORVHGDWWKLVVWDJHWKH1,+DVNVDSSOLFDQWVWRDOVRGLVFORVHZKHWKHUWKHDSSOLFDQW

LVDZDUHRIDQ\RYHUODS

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                    'U:DQJGLGQRWGLVFORVHWKLV&KLQHVHJUDQWDVDFWLYHRUSHQGLQJZKHQKH

VXEPLWWHGWKH-XVWLQ7LPHRQ0D\:KLOHWKH&KLQHVHJUDQWDSSHDUVQRWWRKDYHEHHQ

DFWLYHXQWLO-DQXDU\LWLVXQNQRZQWRWKH&OHYHODQG&OLQLFLIWKHJUDQWFRXOGKDYHEHHQ

FRQVLGHUHGWREH³SHQGLQJ´DWWKLVWLPH,ILWZDVSHQGLQJLWVKRXOGKDYHEHHQGLVFORVHG,ILW

ZDVQRWSHQGLQJDWWKLVSRLQWLQWLPHWKHGLVFORVXUHZDVUHTXLUHGLQ-DQXDU\

                    Annual Progress Reports1,+DOVRUHTXLUHVWKDWHDFK\HDULQYHVWLJDWRUVZRUNLQJ

XQGHUDZDUGVILOHUHSRUWVZLWKWKHDJHQF\GHVFULELQJDPRQJRWKHUHYHQWVWKHSURJUHVVWKDWKDV

EHHQPDGHWRZDUGDFKLHYLQJWKHUHVHDUFKDLPVGHVFULEHGLQWKHDSSOLFDWLRQ,QWKHVH$QQXDO

3URJUHVV5HSRUWVLQYHVWLJDWRUVDUHDOVRUHTXLUHGWRGLVFORVHDQ\FKDQJHVLQWKHFDWHJRULHVRI

LQIRUPDWLRQWKDW1,+FROOHFWHGDWWKH-XVWLQ7LPHVWDJHLQFOXGLQJFKDQJHVLQ2WKHU6XSSRUW

                    'U:DQJVXEPLWWHGWKHILUVW$QQXDO3URJUHVV5HSRUWXQGHU52+/RQ

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³&KDQJHVLQ2WKHU6XSSRUW´7KHRYHUODSSLQJ&KLQHVHJUDQW &16) DSSHDUVWRKDYH

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VKRXOGKDYHEHHQGLVFORVHGLQWKLVSURJUHVVUHSRUWE\'U:DQJDVDFKDQJHLQRWKHUVXSSRUWDQG

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:DQJ&16)³,GHQWLILFDWLRQRI1HZ6LJQDOLQJ3DWKZD\IRU9DVFXODU5HPRGHOLQJ±
DOVREHJDQVRPHWLPHLQ-DQXDU\DQGZDVVFKHGXOHGWRUXQWKURXJK$VDUHVXOWWKLV
JUDQWVKRXOGKDYHEHHQGLVFORVHGDVZHOO´

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                   'U:DQJILOHGDQRWKHU$QQXDO3URJUHVV5HSRUWXQGHU52+/RQ0DUFK

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2WKHU6XSSRUW´%RWKRIWKH&KLQHVHJUDQWVUHIHUHQFHGDERYHDSSHDUWRKDYHEHHQDFWLYHDWWKLV

WLPHEXW'U:DQJGLVFORVHGQHLWKHULQUHVSRQVHWRKLVLQTXLU\

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4XHVWLRQ'FDVNHGIRUWKHGLVFORVXUHRIDQ\³&KDQJHVLQ2WKHU6XSSRUW´'U:DQJDJDLQ

IDLOHGWRGLVFORVHHLWKHU&KLQHVHJUDQW

                    7KHIRUPIRUWKH$QQXDO3URJUHVV5HSRUWFRQWDLQHGDFHUWLILFDWLRQRIWUXWKIXOQHVV

DQGDFFXUDF\

                    'U:DQJIDLOHGWRGLVFORVHWR1,+DQGRUWKH&OHYHODQG&OLQLFWKDWKHZDVXQGHU

DQREOLJDWLRQZLWKWKH&KLQHVHJRYHUQPHQWWRVKDUHKLV86IXQGHGUHVHDUFKZLWKHQWLWLHVORFDWHG

LQ&KLQDLQDQ\RIKLVDQQXDOGLVFORVXUHUHTXLUHPHQWV,QDGGLWLRQ'U:DQJGLGQRWGLVFORVHKLV

SRVLWLRQVDV'LUHFWRURIWKH+XPDQ*HQRPH5HVHDUFK&HQWHUDQG'HDQRIWKH&ROOHJH2I/LIH

6FLHQFHVDQG7HFKQRORJ\DW+8677KH&OHYHODQG&OLQLFDQG1,+KDGQRWJUDQWHG'U:DQJ

H[SUHVVSHUPLVVLRQWRVKDUH86IXQGHGUHVHDUFKZLWKHQWLWLHVLQ&KLQD'U:DQJGLGQRW

GLVFORVHKLV&16)FRQWUDFWVWR1,+GXULQJWKHSURFHVVRIDSSO\LQJIRUKLVFXUUHQW1,+JUDQWDQG

KHDOVRIDLOHGWRGLVFORVHWKHVHIDFWVRQSULRU1,+JUDQWDSSOLFDWLRQVDOWKRXJKKHKDGFRQGXFWHG

JUDQWVFLHQFHUHVHDUFKIURP%DVHGRQP\WUDLQLQJDQGH[SHULHQFHDQGWKHIDFWVDV




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 ,QD0DUFKLQWHUYLHZZLWK&OHYHODQG&OLQLFH[HFXWLYHV'U:DQJVWDWHGWKDWLWZDVQRW
XQWLO6HSWHPEHUWKDWKHZDVDZDUHWKDWIRUHLJQJUDQWVQHHGHGWREHGLVFORVHGWRWKH1,+

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VHWIRUWKLQWKLVDIILGDYLWWKHUHLVSUREDEOHFDXVHWREHOLHYHWKDW'U:DQJFRPPLWWHGYLRODWLRQV

RI7LWOH8QLWHG6WDWHV&RGH6HFWLRQV )DOVH&ODLPV DQG :LUH)UDXG 

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              %DVHGRQWKHDIRUHPHQWLRQHGIDFWXDOLQIRUPDWLRQ$IILDQWUHVSHFWIXOO\VXEPLWV

WKDWWKHUHLVSUREDEOHFDXVHWRVXSSRUWDFRPSODLQWDQGDUUHVWZDUUDQWFKDUJLQJ'U4,1*

:$1*DND.(11(7+:$1*IRUNQRZLQJO\PDNLQJRUSUHVHQWLQJWRDQ\GHSDUWPHQWRU

DJHQF\RIWKH8QLWHG6WDWHVVSHFLILFDOO\WKH1DWLRQDO,QVWLWXWHVRI+HDOWKDQ\FODLPXSRQRU

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ILFWLWLRXVDQGIUDXGXOHQWDQGWRREWDLQPRQH\RUSURSHUW\E\PHDQVRIIDOVHRUIUDXGXOHQW

SUHWHQVHVUHSUHVHQWDWLRQVRUSURPLVHVLQYLRODWLRQRI7LWOH8QLWHG6WDWHV&RGH6HFWLRQ

    )DOVH&ODLPV DQGIRUH[HFXWLQJDQGDWWHPSWLQJWRH[HFXWHDVFKHPHDQGDUWLILFHWRGHIUDXGDQG

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)UDXG 

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